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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
WANDA SAVAGE,                        )
                                     )
              Plaintiff,             )
                                     )
              v.                     )    Civil Action No.: 1:15-CV-00791-CRC
                                     )    ECF
ERIC D. HARGAN., Sec’y               )
Dep’ t of Health and Human Services, )
                                     )
              Defendant.             )
____________________________________)

  DEFENDANT’S OPPOSITION TO PLAINTIFF’S SECOND MOTION TO STRIKE
 DEFENDANT’S MOTION FOR LEAVE AND REPLY, ECF No. 102, AND REPLY TO
PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR LEAVE, ECF No. 103

       On behalf of Eric D. Hargan, in his official capacity as Acting Secretary of the

Department of Health and Human Services (“Defendant”), the undersigned counsel hereby

respectfully submit this Opposition to Plaintiff’s Second Motion to Strike, ECF No. 102, and

Reply to Plaintiff’s Opposition to Defendant’s Motion for Leave, ECF 103.

       Plaintiff has filed a second Motion to Strike Defendant’s Motion for Leave to Exceed

Page Limit and Reply to Plaintiff’s Opposition to Defendant’s Motion for Summary Judgment,

ECF No. 102, as well as an Opposition to Defendant’s Motion for Leave. ECF No. 103. Both

pleadings are baseless and a waste of the Court’s precious time and resources not to mention that

Plaintiff’s counsel is being petty and spiteful. Plaintiff’s motion is transparently baseless

because he argues that both of Defendant’s pleading are untimely notwithstanding the fact that

the Defendant filed a motion to enlarge to allow the pleading to be filed on December 11, 2017,

when both were filed. See ECF No. 97. The motion is pending. ECF No. 97. Should the Court




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be inclined to grant Defendant’s motion based on its proffer of “good cause” for the extension,

Plaintiff’s motion would be mooted and should be denied on that basis.

       Plaintiff also seeks to have Defendant’s motion for leave struck on the grounds that

Defendant delayed in filing the motion. First, the undersigned did not realize that Defendant’s

motion exceeded the page limit until Plaintiff pointed it out. Instead of bringing same to the

undersigned’s attention, Plaintiff’s counsel has spitefully sought to have same stricken. Second,

as Defendant pointed out in its Opposition to Plaintiff’s first motion, having a pleading stricken

is a drastic and disfavored remedy and because Plaintiff’s counsel did not confer with the

undersigned before filing it, the parties were denied a chance at the most efficient and least

judicially wasteful remedy, which would have been the motion for leave to exceed that the

undersigned filed.

       To confirm that Plaintiff’s counsel is playing a petty “tit for tat” game, he states a his

grounds for failing to confer, that the undersigned had failed to confer with him before filing

ECF No. 81, which was a motion to enlarge to file a “rejected” exhibit – a rejection that did not

occur until after 10 p.m. Thus, it would have been futile to attempt to confer with Plaintiff’s

counsel at that time of the day. Moreover, the motion was to permit time to file ONE exhibit

while the rest of Defendant’s dispositive motion had been timely filed. For the foregoing

reasons, Defendant respectfully request that the Court grant its motion for leave and deny both of

Plaintiff’s motions to strike for failure to confer per the Local Rules as well as the fact that they

lack merit and were not filed in good faith.

December 22, 2017                              Respectfully submitted,

                                               JESSIE K. LIU, D.C. Bar No. 472845
                                               United States Attorney
                                               for the District of Columbia



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                            DANIEL F. VAN HORN, D.C. Bar # 924092
                            Civil Chief

                            By:             /s/
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                            Attorneys for Defendant




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                                CERTIFICATE OF SERVICE

       I certify that I caused copies of the foregoing Defendant’s Opposition to Plaintiff’s

Second Motion to Strike, ECF No. 102, and Reply to Plaintiff’s Opposition to Defendant’s

Motion for Leave, ECF 103, to be served on Plaintiff’s counsel via ECF.

                                                 /s/
                                             KENNETH ADEBONOJO




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